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                EXHIBIT A
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                                                                 LA\Y/IS COTIN'I'Y, \'/ASH

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     61
                           IN THE SUPERIOR COURT OF TTIE STATE OF WASIIINGTON IN
     7                                 AND FOR THE COUNTY OF LEWIS

     8
              ROBERT COOPER and CRYSTAL
     9
              COOPER                                                         Cause             No.: 17-2 -0006921
 10
                                         Plainliffs,                         PLAINTIFF'S SECOND AMENDED
 11                                                                          COMPI,AINT FOR MEDICAL
                                                                             NBGLIGENCE
 12                    v

 l3          PROVIDBNCE }IEALTII CARB
             FOLINDATION d/b/a PROVDENCE
14
             CENTRALIA HO SPITAL; NORTHWEST
             EMERGENCY PHYSICIANS, LLC.; ANd
1s
             LEWIS COUNTY COMMLTNITY }IEALTH
t6           SERVICES d/b/a VALLEYVIEW HEALTH
             CENTER
t7
18                                       Def'endants.

19
          Plaintiff alleges:
20
                  1.       PLAINTfff - Phintiff Robert Cooper is arcsident                                  of Washington.
2l
                  2,       PLAINTIFtr - Plaintiff Crystal Cooper is a resident of Washingfon.
22
                  3.       DEFENDANTS BUSINESS ENTITIES                                -       Defendant PROVIDENCE HEALTH
23
          CARE FOTJNDATION is a business that was at the time of the occulrence involved in the
24
          ownership, management and/or operation of Providence Centralia Hospital, a hospital located at
25
                                                    'Washington
                                                                       98531, Defendant has been served.
26 914 South Scheuber Road, Cenh'alia,

          PLtr'S SECOND AMENDED COMPLAINTTOR                             Pass I                                    THE IIOIINtsUCIOE FTRM
                                                       -fj ' i:r?h' i i ,:J"                                       1408 -140th Placo N.8,, Sulto 250
          MEDICALNTiGLIGDNCE                /"'-'                        5
                                            i                                                                      Bellevuq WA 98007
                                                                                                                   Tel: (425) 679-0742
                     Case 3:18-cv-05232-BHS Document 1-1 Filed 03/22/18 Page 3 of 6
                                            \,                                                 \-




     1ll                    Defendant NORTH\MEST EMBRGENCY PHYSICIANS, LLC, is a business that was at
       il
     ,ll*r               time of the ocouuerlce involved in the ownership, managernent and/or operation of MD

     3ll ..rvices at PROVIDENCE CENTRALIA HOSPITAL. Defendant has been seled.

                            Defendant LEWIS      coUNTY COMMI.INITY HEALTH SERYICES is a business that
     ll
                   -.r   at the time   ofthe occulrence involvecl in the orvnership, management and/ot operation of
     :ll
                  VdtW View Health Center         Casoade, a healthcate clirrio located at2428 Reynolds Rd., Cenhalia,
          f   f
                  Wr*t ington 98531 . Defend ant nay      l.re servecl   tluough its registered agent: Lewis County
     * If
                  Corr*unity Health Services, 26g0N,E. Ift'eslcy Avenue, Chehalis, Washington, 95532,
   'llf
     "f
                            Venue is proper in Lewis County, Washington, pursuantto RCW 4.72,025,
 10ll
          II
 ll ll                      4,    OCCURRDNCE - Plaintiff, Robert Cooper, souglrttreatrnent for severe backpain

f Zf *df*ing down into his legs on Decembel 17 ,2015, at Proviclence Centralia                           I{ospital. Defendant
    f

13ll*.,                  made awne that Mr. Coopet had beento the emergency room for back ancl lcg pain one

laf               **f. prior to this visit and that tlre pain had become worse over time and progressed               from his
              l

j:ll tr-                 to his legs. Defendant Proviclonce Centralia Hospital breachecl the standard of carc on the

          ll occasion of this visit to that institution by failing to proper'ly diagnose        Mt, Coopor's condition
 nll
                  ,rU failing to do a radiographic scanl and did rot teoommencl or facilitate follow up with                 a
, r ll
                  rn".ialist, which would have easily detected the severc spinal stenosis that was causing sevete
Ufl
                  radiating pain at that time,
,Oll

,r                         Rased on information and     belief the physician assistant responsible for Mt. Coopet"s
      ll
ZZllneeligent cate was employedjointly by PROVIDENCE HEALTH CARE FOUNDATION dlbla

,, r.*rDENcE                           cENTRALIA Ho spITAL;         and   NoRrHwESr BMERGENCY PHYSICIANs,
      I   l
ZAllruC, Defendant NORTHWEST EMERGENCY PHYSICIANS, LLC,is responsible for the
25ll
              ,uerigent care describcd in the preceding paragraph.
*ll
              PLE'S SNCOND AII'IENDI'D COII'IPLAINT FOR                        Paga2                THD IIOBNBUCIOE IIIRM
                  II.IEDICAI, NEGLTGENCE                                                            l40t -t4orh Place N.8., Suite 250
                                                                                                    Bellevue,    WA  98007
                                                                                                    lbl: (42s)   67e-0742
             Case 3:18-cv-05232-BHS Document 1-1 Filed 03/22/18 Page 4 of 6
                                    \,                                                     \,




     1              Plaintiff, Robert Cooper; followed up with lils primary cate provider on December 21,

     2    20L5, at Valley View Ilealth Center Cascade, and was seen by Tracy Svoboda, ARNP, who

     3    diagnosed bilateral sciatica. Despite the presentation ofptogtcssing back and leg pain, Valley

     4
          View did not order a radiographis             soan, and did not tecotnmend or facilitate   follow up with       a
     5
          specialist, which would have easily diaguosed Ml. Coopet's severe spinal stenosis fi'om which
     6
          he was suffering     fiom   at the   tiute. This failute is a breach of the standard of cale,
     7
                   The failule to cliagnose Mr', Cooper's condition on the palt of defendants dilectly led to a
     8
         'delay in tleatment and a sevelc worsening of Mr, Coopet's condition,             ffid led to the development
  9
          of cauda equina arrd palalysis on Decetnber 26,2015,
 10

 11                5.      NEGLIGENCE - The negligence of PROVIDENCE IIEALTH CARE

 12      FOUNDATION dlblaProvidence Centralia Hospital, NORTI-IWEST PHYSICIANS, INC,, and

13       LEWIS COUNTY COMMLINITY HEALTH SERVICBS d/b/a VALLEY VIEW HEALTH
14
         CENTER were aproxirnate causo of Robert Cooper's incomplete paraplegia, disability and other
15
         inj uries resultin g fi'om negli genoe.
16
                  6,      DAMAGES - Damages should be awarded to PlaintiffRobert Cooper for past and
17
         future pain and suffering, physical irnpairment, disability, loss of enjoyment of life, andpast and
18
         futule medioal and oustodial oare, and past and futurc lost eamings and lost earning capacitS that
l9
         was necessitated by the acts and omissions of Defendants,
20

21                7,      DAMAGES         -    Damages should be awarded to'Plaintiff Crystal Cooper for loss              of

22 consortium,

?3                WHEREFORB, Plaintiffprays for judgment against Defendants, for damages in the

24 arnonnt determined by the trtet'of fact, together with oosts and interest as allowed by law,

25
         together with such ftrther relief as tlre court deems just and ocluitable.
26

         PI,f,'tS SECO}ID AI\.IENDED CON,IPLAINT trOR                     Page 3                TIIE HORNBUCI(LE FIRM
         I\.IEDICAL NEGLIGENCO                                                                  1408 -140th Placo N.8,, Suite zso
                                                                                                Bellovue, WA 98007
                                                                                                Tcl: (425) 679-0742
            Case 3:18-cv-05232-BHS Document 1-1 Filed 03/22/18 Page 5 of 6
                                  \.,                                                v


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     2                     DAT'ED,hI,        // h .r,, 9QH4, .,zot;,
     3
                                                 Respectfu   lly Strbrnitted,
     4

     5                                           By
                                                      Stephen
     6                                                IvsBA #39065
                                                      Thomas Hombuckle
 7,
                                                      THE HORNBUCICE FIRM
                                                      1408 - I401h Place N.8., Suite 250
 8
                                                      Bellewe, WA 98007
 9                                                    Tel: (425) 679-0742
                                                      Fax: (425) 679-0002
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                                                     ATTORNEYS trOR I'LAINTItrtr
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         PLN'S SECOND AI\.IENDtrD COII.IPLAINT TOR                    Page 4               'I'HI} IIORNBTICKI,U trIRM
         I\,IEDICAL NDGLIGENCE                                                             l40t -l4oth PlacoN.Ii., suitc 250
                                                                                           Bellevuq WA 98007
                                                                                           Tel: (42s) 679-0742
                Case 3:18-cv-05232-BHS Document 1-1 Filed 03/22/18 Page 6 of 6
                                    v                                         \,




      I                                      CERTMICATE OF SDRYICE

     2                                                          of pcrjury   under the laws of the State
                                                                                        ,2017, at Bellevue,
     3
                                                       served on the followingporson(s) in the
               maruIel indicated:
     4

     5l         Scott M, O'Halloran                      VIA RBGULARMAIL
                Amanda I( 'Ihorsvig                      VTA CERlIFtr]D       MAIL
     6          Fain Andeison Vandorhoef                 VIAII,\}ID DELIIIERY
                Rosendahl O'Halloran Spillano, PLLC
                                                         BYFACSIMLE
     7          1301 A Stueet, Suite 900
                                                         VIA OVERNIGHTMAIL
     I
                Taccima, V/A 98402
                Attoureys for Defendant Plovidence       VIA ELECTRONIC
                                                         MAIL
                                                                                                Z-
     9
         l      David J, Corey                           VIA REGULARMAIL
 10t           Floyd, Pflueger & Ringeq P,S.             VIA CERTIFIED MAIL
               200 West Thomas Street, Suite 500         VIA }IAND DELIVERY
 11            Seattle, WA 98119-4295                    BY I.,'ACSIMILE
               Attorneys for Defendant NrW Emergency
 12

 13
               Physicians, LLC
                                                         VIA OVERNIGHTMAIL
                                                         VIAELECTROMC
                                                         MAIL
                                                                                                ?
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             PLT'S SECOND AMENDDD CON{PLAAT IfOR           Pago 5                  TIIE HORNBUCIGE FIRM
             I}fEDICALNEGLIGDNCD                                                   1408 .t4O'h Placo N,8., Sulte 250
                                                                                Bellovuo, WA 98007
                                                                               .Tel: (425) 67e-0742
